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                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF OKLAHOMA



 1) VIDEO GAMING TECHNOLOGIES, INC.,                        )
                                                            )
                                                            )
                   Plaintiff,                               )
                                                            )
 v.                                                         )   Case No. 4:17-cv-00454-GKF-JFJ
                                                            )
 1) CASTLE HILL STUDIOS LLC                                 )
    (d/b/a CASTLE HILL GAMING);                             )
 2) CASTLE HILL HOLDING LLC                                 )
    (d/b/a CASTLE HILL GAMING); and                         )
 3) IRONWORKS DEVELOPMENT, LLC                              )
    (d/b/a CASTLE HILL GAMING)                              )
                                                            )
                   Defendants.                              )


        DECLARATION OF MICHAEL S. SAWYER IN SUPPORT OF PLAINTIFF VIDEO
        GAMING TECHNOLOGY, INC.’S OPPOSITION TO DEFENDANTS’ MOTION TO
       STRIKE DECLARATIONS OF STACY FRIEDMAN AND JOSH DAVIS SUBMITTED
        IN SUPPORT OF PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT

                     1.         I am an attorney with the law firm of Covington & Burling LLP, counsel

      for Plaintiff Video Gaming Technologies, Inc. (“VGT”). I was admitted pro hac vice in this case

      on August 9, 2017.

                     2.         Attached as Exhibit O is a true and correct copy of excerpts from the

      transcript of the deposition of Stacy Friedman, taken on September 24, 2018.

                     3.         Attached as Exhibit P is a true and correct copy of VGT’s Rule 26(a)(1)

      Initial Disclosures, dated October 6, 2017.

                     4.         Attached as Exhibit Q is a true and correct copy of VGT’s Objections and

      Responses to Defendant Castle Hill Studio LLC’s First Set of Interrogatories (Nos. 1–13), dated

      November 22, 2017.
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                  5.     Attached as Exhibit S is a true and correct copy of excerpts from the

   transcript of the deposition of Robert M. Zeidman, taken on September 28, 2018.

                  6.     Attached as Exhibit T is a true and correct copy of excerpts from

   Plaintiff’s First Supplemental Objections and Responses to Defendant Castle Hill Studio LLC’s

   First Set of Interrogatories (Nos. 1–13), dated December 27, 2017.

                  7.     Attached as Exhibit U is a true and correct copy of excerpts from

   Plaintiff’s Sixth Supplemental Objections and Responses to Defendant Castle Hill Studio LLC’s

   First Set of Interrogatories (Nos. 1–13), dated August 3, 2018.

                  8.     Attached as Exhibit V is a true and correct copy of excerpts from the

   transcript of the deposition of Paul Suggs, taken on June 8, 2018.

                  9.     Attached as Exhibit W is a true and correct copy of excerpts from the

   transcript of the Rule 30(b)(6) deposition of Alan R. Roireau, taken on August 1, 2018.

                  10.    Attached as Exhibit X is a true and correct copy of a letter from Michael

   S. Sawyer to Robert C. Gill, dated April 11, 2018.

                  11.    I declare under penalty of perjury that the foregoing is true and correct.

   Executed on December 14, 2018 in Washington, D.C.


                                                                /s/ Michael S. Sawyer
                                                                  Michael S. Sawyer




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                                    CERTIFICATE OF SERVICE

          I hereby certify that on December 14, 2018, I filed a copy of the foregoing via ECF,

   which caused service to be effected on the following counsel for Defendants:

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                                                                             /s/ Gary M. Rubman




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